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BEFORE THE T()RTURE INQUIRY AND RELIEF COMMISSION

 

In re:
Claim of Tony Anderson TIRC Claim No. 0 ’f\
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CASE DISPOSITION 0
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Pursuant to 775 ILCS 40/45(c) and 2 Ill. Adm. Code 3500.385(b), it is the decision of the
Commission that, by a preponderance of the evidence, there is sufficient evidence of torture to
conclude the Claim is credible and merits judicial review for appropriate relief. This decision is
based upon the Findings of Fact and Conclusions set forth below, as well as the supporting
record attached hereto.

F indings of Fact

l. ln April. 1990, Claimant Tony Anderson (“TA”) was arrested on auto then charges
and taken to Area 2 of the Chicago Police Department, where he was questioned by
Detectives Michael McDerrnott and Anthony Maslanka.l

2. During that questioning McDermott held a gun to TA’s head and threatened to blow
his brains out. Maslanka jabbed TA with a nightstick in his thighs and back until TA
was crying and agreed to confess

3. TA made an oral statement confessing to numerous offenses committed in March and
April, 1990.

4. TA was later indicted in 13 different cases. In 90 CR 11984 he was convicted of
attempted murder in a bench trial and sentenced to 25 years. In 90 CR 11985 he took
a jury trial and was convicted of armed robbery and sentenced to 25 years concurrent
He then entered guilty pleas in ll other casesz, including a murder for which he
received 50 years, also concurrent

5. A written motion to suppress his statements was made as to all 13 cases. The written
motion, filed in 1990, is consistent with his TIRC Claim, and TA testified at the

 

1 Although Jon Burge had been transferred from Area 2 to Area 3 at this point, both McDermott and Maslanka had

worked under Burge at Area 2.
2 The prosecution used his confession at the time of the entry of the guilty pleas in 1991. Peog|e v. Anderson, 375
l|l.App.Sd 121, 128, 872 N.E.Zd 581 (lDist.2007)

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hearing consistently with his TIRC Claim. (Transcript of Proceedings dated May
5,1991 at 264-65, 288) The judge denied the motion based upon his view of the
credibility of the witnesses given the evidence before him at that time.

6. Since the motion to suppress Was heard in 1991, the following evidence has emerged:

a. In 1990 the Office of Professional Standards of the Chicago Police
Department concluded after an internal investigation that there had been
systemic abuse at Area 2 for over 10 years. The Report Was not released
publicly until 1992.

b. On November 12, 1991, J on Burge was suspended, and charges were later
brought against him before the Police Board of the City of Chicago. In
connection with that hearing the City of Chicago made a judicial admission
that Burge put a gun to Shaded Munin’s head and played Russian roulette.3 In
his testimony at Burge’s federal perjury trial, McDermott, who was forced to
testify after a grant of immunity, admitted that he testified before the federal
grand jury that he was present when this took place.4 On February ll, 1993,
the Police Board separated Burge from his position as a Commander with the
Department of Police after finding him guilty of abusing Andrew Wilson at
Area 2 in 1982.

c. In 2002 Cook County Criminal Court Chief Judge Paul Biebel appointed a
Special State’s Attorney to investigate allegations of torture by police officers
under the command of Burge at Areas 2 and 3 to determine if criminal
prosecutions were warranted The 2006 Report concluded that in the case of
Alphonso Pinex there was sufficient evidence to indict both McDermott and
Maslanka for aggravated battery (beating PineX so severely that he soiled his
underwear) and for perjury and obstruction of justice (denying under oath that
they had beaten Pinex). The Report also found that “[t]here are many other
cases which lead us to believe that the claimants were abused”.5

d. TIRC records, attached as Exhibit C, indicate that McDerinott has 13 other
complaints of abuse of which TIRC is aware, and he has pled the 5th
Amendment privilege against self-incrimination when asked about abusing
detainees

e. As set forth in Exhibit D, Maslanka has 14 other complaints of abuse of which
TIRC is aware. He has also taken the 5th When asked about abusing detainees,
including TA specifically, as set forth in Exhibit E.

 

3 City of Chicago's |\/|emorandum in Opposition to |\/|otion to Bar Testimony Concerning Other A||eged Victims of
Police Misconduct dated January 22, 1992 at 11-12, attached as Exhibit A.

4 United States v. Burge, 08 CR 846 (N.D.|||.), Transcript of Proceedings dated June 14, 2010 at 144, 149 , attached
as Exhibit B.

5 Report of the Specia| State’s Attorney at 16.

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7. After his motion to suppress was denied, in 90 CR 11984 TA was convicted of
attempted murder in a bench trial at which his confession was used, and he was
sentenced to 25 years in prison. In 90 CR 11985 he was convicted of armed robbery
after a jury trial, and he was sentenced to 25 years to be served concurrently with the
sentence in 90 CR 11984. Thereafter, he entered guilty pleas6 in 11 other cases,
including a murder for which he received 50 years, all of the time to be served
concurrently with the sentences mentioned above.

8. In 2004 TA filed a post-conviction petition regarding the guilty pleas, and it contains
the same claim of coercion he raises before the TIRC. In 2005 and 2008 TA filed
other post-conviction petitions raising the same coercion claim. All of the post-
conviction petitions were dismissed on procedural grounds without reaching the
merits of the claims.

Conclusions

l. TA’s Claim qualifies for summary referral pursuant to 2 Ill. Adm. Code 3500.370 in
that:

a. TA has consistently claimed since his motion to suppress to have been tortured in
the manner alleged in his TIRC Claim;

b. His Claim is strikingly similar to other claims of torture contained in the Reports
of the Chicago Police Department’s Office of Professional Standards, and the
Report of the Special State’s Attorney, regarding their investigation of J on Burge
and police officers under his command;

c. The officers accused are identified in other cases alleging torture; and

d. The Claim is consistent with the Office of Professional Standards’ findings of
systematic and methodical torture at Area 2 under J on Burge.

2. ln addition, the other available evidence set forth above indicates that the Claim is
credible and merits judicial review.

3. While the complaints of physical abuse and coercion against the accused officers are
allegations and not judicial findings, they are nevertheless relevant in deciding
whether abuse occurred in a specific case. People v. Patterson, 192 Ill.2d 93, 114-
15,735 N.E.2d 616 (Ill.Sup.Ct. 2000); People v. Cannon, 293 Ill. App.3d 634, 640,
688 N.E.2d 693 (1 Dist. 1997); People v Cortez Brown, 90 CR 23997 (Transcript of
Proceedings dated May 22, 2009 at 8, Ruling by Judge Crane) (evidence against
Burge subordinates of abuse in cases other than Brown’s was “staggering” and
“damning”), attached as Exhibit F.

 

6 The confessions were used at the time of the entrance of the guilty pleas as part of the prosecution’s factual basis
to support the pleas.

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4. While invocation of the 5th Amendment is not an admission of guilt, in a civil
proceeding such as this a negative inference can be drawn from that fact. 2 Ill. Adm.
Code 3500.375 (g).

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DATED: May 20, 20l3 ill

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lllinois Torture Inquiry and
Relief Commission

 

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EXH[BIT A:

City of Chicago’s Memorandum in Opposition to Motion to Bar Testimony
Concerning Other Alleged Victims of Police Misconduct dated January 22, 1992

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BEFORE THE POLICE BDARD OF THB CITY OF CHICLGO

IN THE MATTER OF CHARGES FILED AGAINST

Po`r".lciz: communist Joit BuRGE,
s'raR iro. 333, cHIcAeo PoLIcE DEPARmENT

IN THE HATTER OF CHARGES FILED AGAINST

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POLICE DETECTIVE PATRICK O'HARA ) ease No. 1857
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STAR NO. 2888¢ CHICAGO POLICE DEPARTHENT

IN THR MATTER DF CHARGES FILED AGAINST
?OLICE DETBCTIVE JOHN YUCAITIS,
STAR NO. 7744, CHICAGD POLICE DEPARTHENT

Case No. 1858

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Respondents' attempt to bar the testimony of seven

additional victims of torture tactics at Area II headquarters
ignores the overwhelming precedent supporting the admission of
similar acts under circumstances much less compelling than
these. The test£nony regarding similar acts sets forth
detailed accounts of torturous treatment which are almost ‘
identical to the torture suffered by Andrew Wilson. The
testimony reveals an astounding pattern or plan on the part of'
respondents to torture certain suspects, often with substantial
crininal records, into confessing to crines or to condone such
activity. The similar acts testimony would clearly be

admissible in a federal or state court, and it should be

admissible in this.proceeding.l/

 

il Indeed, in a January 16, 1992 hearing in which Judge Shadur
dismissed respondents’ federal lawsuit, Judge Shadur stated
that he knew of nothing that would foreclose the Police
Board from considering this evidence. §gg Exh. A at 13-15.

SP 01 9631

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feared for his life at the hands or the police officers. When

 

he finally agreed to testify`about the abuse he suffered, he
did so only on the condition that wilson's lawyers would move
him out of Illinois. In addition, because he was afraid and
did not know who he could trust, he did not file an OPS
complaint. His mother, however, did file an OPS complaint in
connection with his torture at the hands of the police

officers. ops reached a finding of ”not sustained.”

5. Shadeed Mu i
On october 30, 1985, Shadeed Mumin was pulled over and

arrested by two police officers in an unmarked car. He was
taken to Area II and placed in a small room upstairs. Burge
entered the room and told Mumin to get up and turn around to
the wall. Mumin was then handcuffed behind him to a ring or
hook on the wall such that he could not sit down. Burge told
Mumin that he wanted to know about the robbery, and Mumin \
replied that he had no knowledge of what Burge was talking
about. Burge told Mumin he would talk before Mumin left there
and tightened Munin’s handcuffs. The handcuffs were painful
and cut off Mumin's circulation. Burge then left the rocm.
Burge returned after a half hour and loosened the
handcuffs, asking Mumin if he was ready to talk. When Humin
said he didn't know what Burge was talking about, Burge became
angry and pushed him into a wall. He then removed Munin’s
handcuffs, took him to an office down the hall and handcuffed

him. Burge said, "You're not going to talk, huh?" and Humin

mm '11- sp 019641

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replied that he didn't know what Burge was talking about.

 

Burge said, "Do you know that we can bury you in the
penitentiary?" Mumin replied that he still didn’ t know what
Burge was talking about. _

Burge then told Mumin that they really wanted his son,
and Mumin repeated that he didn’t know what Burge was~ talking
about. Burge became angry and pulled out a fully loaded
.44 Magnum. He took out all the bullets except for one, spun
it, placed it to Munin’s head and snapped it three times
slowly. Burge told Mumin he was "damned lucky" that Burge
didn't kill him and that he wanted to know about the "fucking
robbery."

Burge became angry, jumped up from the desk and
snatched a brownish, plastic typewriter cover. He said,
"'iou'll fucking(._italk or I'll kill you," and placed the cover
over Munin’s heazd. Burge held the cover over his head and

‘ pushed it down in his face so he couldn't breathe. Numin, who
.wa`s handcuffed behind his back, passed out. Burge put it on
his head three times. The third time, Mumin hollered and Burge
took the cover off and laughed. Burge asked him if he was
ready to sign a statement and Mumin told him he would do
anything. Burge told Mumin that if he told anybody, nobody
would believe him because there were no marks on him and that
he had better sign the statement.

Mumin testified to these facts at an October 5, l988

hearing on his Motion to Suppress. _S_ie Exh. E.

'12’ sp 019642

1185.|

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sgg:estimony of the parade of police officers who will testify
that they saw and heard nothing. Indeed, as the testimony of
the similar victims shows, respondents counted on the fact that
their testimony would be believed over that of a convict when
they persisted in their pattern of torture. They should not be
permitted now to hide behind their allegations of prejudicial

effect to secure exclusion of that telling evidence.

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For the alternative and independent reasons stated
above, respondents' motion to bar testimony concerning other

alleged victims of police misconduct should be denied.

Dated: January 22, 1992 Respectfully suhnitted,
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ij Daniel E. Reidy
. June K. Ghezzi
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225 West Washington Street
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Special Corporation Counsel to
LeRoy Martin, Superintendent of
Police

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EXHIBIT B:

Excerpts of Testimony of Michae! McDermott in
United States v. Burge, 08 CR 846 (N.D. Ill.)

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1 INTHEIDHTHJSUUESIESHUCFCUIU
NORTHERN DISTRICT OF ILLINOIS
2 E%STEBJDIVISDIH
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)
4 Plaint;iff, )
)
5 vS. ) NO. 08 CR 846
)
6 JON BURGE, ) Chicago, Illinois
) JUne 14, 2010
7 Defendant. )
8 EKDRPT OF
TRANSCRIPI‘ OF PROCEEDINGS ~ Michael McDermott testimony
9 BEHXEZTHE HJWXU§LE JJBIHUWIEUN`LEFMWW andaijury
10 APPENUWKIS:
11 For the Govemnent: HON. PA'I'RICK J. FITZGERALD
219 South Dearbom Street
12 Chicago, Illinois 60604
BY: MR.M.!IWTDVEIH@N
13 NE. APRIL PERRY
14 DEPARHWENT OF JUSTICE
CIVIL RIGHTS DIVISION
15 ~§ CRIMINAL SECTION
x 601 D Street NW
16 Rocm 5339
washington Dc 22314
17 BY: MS. ELIZABETH L. BIFFL
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NOTE: THIS IS A.RARTIAL TRANSCRIPT. IN THE EVENT OF AN \
19 APPEAL, PLEASE CHECK TO SEE IF A FULL TRANSCRIPT IS GN FILE. ,
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21 PAMELA S. WARREN, CSR, RPR
Official Court Reporter
22 219 South Dearbom Street, Room 1928
Chicago, Illinois 60604
23 (312) 294»8907
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** TRANSCRIPT EXCERPT **

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5 McDermott - redirect by Perry 144

 

l A. Yes, ma'am.

2 Q. There was an open»ended question asked, what type of abuse
3 you saw, and you brought up Mu'min. Is that right?

4 MR. BEUKE: Objection, Judge »-

5 'I’HE COURT: Overruled.

6 MR. BEUKE: ~- asked and answered

7 BY 'I’HE WI'INESS:

8 A. Yes.

9 BY MS. PERRY:

10 Q. Now you have complained that you didn't really get a chance
11 to explain what happened in Mu'min's case. But isn't it true,
12 sir, that you were asked an open-ended question to tell the

13 truth in the grand jury everything you had seen take place?

 

14 MR. 1330le Objection, Judge.

15 THE E§DURT: OVSI°I'Llled.

16 BY THE WI'I'NESS:

17 A. Yes.

18 BY MS. PERRY:

19 Q. And you did explain everything you had seen take place, is
20 that righc?

21 A. Yes.

22 Q. And during that explanation you explained how you saw Jon
23 Burge point a gun at Mr. Mu'min, is that right?

24 A. Yes.

25 Q. And you explained how he put some kind of plastic material

 

 

** TRANSCRIPT EXCERPT **

 

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McDermott - redirect by Perry 149
BYbE.‘HLUY:
2 Q. Sir, were you asked this question, and did you give this
3 answer?
4 "Question: What happened after that, after he pointed
5 the gun at him?"
6 MR. BEUKE: Page, counsel?
7 NB. MIUU: 17.
8 BYDE.IBRRY:
9 Q. "Answer: He approached Shadeed Mu'min, and he put
10 something over his head.
11 "Question: Do you recall what he put over Mu'min's
12 head?
13 "Answer: It appeared to be something that was, you
14v know, transparent, plastic of some sort."
15 MR. BBUKE. Objection, Judge. 'Ihat's not impeaching
16 as to anything he said.
17 THE COURF: OWIIUlej.
18 BYDE. HBUN:
19 Q. Were you asked those questions, and did you give those \`.
20 answers?
21 A. Yes.
22 Q. And that item that you saw Jon Burge put over Shadeed
23 Mu'min's head that, sir, could have been a typewriter cover,
24 isn't that correct?
25 A. 1 don't know. And I clarified it later that it -- I didn't

 

 

 

** TRANSCRIPT EXCERPT **

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EXHIBIT C:

TIRC database of abuse allegations against Detective Michael McDermott

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EXHIBIT D:

TIRC database of abuse allegations against Detective Anthony Maslanka

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Case: 1:08-cr-00846 Document #: 454-1 Filed: 07/18/18 Page 20 of 44 Page|D #:8515

EXHIBIT E:

Detective Anthony Maslanka pleading the Fiiih Amendment privilege
against self-incrimination

. lD #:8516
Case' 1'08-cr-00846 Document #: 454-1 Fl|ed: 07/18/18 Page 21 of 44 Pag€

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couNTY DEPARTHENT~cRIMrNAL DIvIsIoN

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Petitioner,
vs. ` , No. 90 cR 23997 l f
CORTEZ BROWN, a/k/a ` Post Convict1on §
VICTOR SAFFORLD. §

' Respondent. §

..--------_-..-..--...-.. .......... )

REPORT oF‘PRocEEDINGs had at the hearing
of the above-entitled cause before the Honorable
cLAvToN cRANE, judge of said court. on the 18th day of

May, 2009. at the hour of 11:20 a.m.

. .{ ..m.;.l_...!.,.'.,,...¢

PRESENT:
HON. LISA HADIGAN _
Attorney Gonera? of Ill1nois, by
HR.*VIN ENZO CHINERA and
HR. PAUL BERVID and

MR. ERIC LEVIN .
Appearing on behalf of the Flaintiff;

-"[U`¥ .

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nR. Locxs BowMAN and 4
nR. FLINT TAYLoR and a
Ms. JoEY noeuL and ~ z

HS. SARAH GELSOHINO
Appearing on behalf of the Defendant.

Paul W. O'Connor
Officiat Court Reporter
Circuit Court of Cook County

County Department _

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Case 1 08 cr 00846 Document #: 454-1 Fl|ed: 07/18/18 Page 22 of 44 Page|D #

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ANTHUNY HA$LANKA.
called as a witness herein, having been first duly

sworn was examined upon oral internogatories and

testified as follows:
DIRECT EXAMINATION
By Mr. Taylor:
Q. Your name, sir?
A. Anthony Maslanka, M~A-S-L-A-N-K~A,
o. You understand you're under oath?
THE couRT; sustained. Ask him some `
questions.
MR. TAYLOR: Q Did you previously work for

the Chicago Police Department under the command of John

Burge at Area Two?
THE WITNESS: A Upon advice of counsel, I

respectfully decline to answer this question and invoke
my constitutional rights and privileges against self
incrimination As guaranteed by the Fifth Amendment to
the United States Constitution By Article One,

Section 10 of the constitution of the State of
Illinois. On the grounds that any answer I may give in

whole or in part to such question may tend to

incriminate me.
MR. TAYLOR: May we have an agreement that in

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Case' 1'08-cr-00846 Document #: 454-1 Fl|ed: 07/18/18 Page 23 of 44 Page|D #

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the future he won't have to read that entire statement.
he can just invoke his Fifth Amendment right and maybe
shorten the process a little bit.
Is that all right with you, counsel?
MR. RODDY: That would be fine.
MR. TAYLOR: Q Did you also have as a
supervising sergeant at Area Two, sergeant John Byrne?
THE WI?NESS: A` Like to invoke my Fifth
Amendment right.v
Q. while at Area Two, were you involved in a
series of cases where suspects under your supervision
and interrogation were abused and tortured?
A. I like to invoke my Fifth Amendment rights.
Q. Specificelly wnth regard to the following
individuals, did you participate in or witness with
John Paladino or sergeant John Byrne. the abuse or
torture of any of the following suspects: Alphonso
Pinex, Donald Torrence, Keith Eric Johnson, lgny

Anderson. Rooseyelt Taylor; Steve Zahora, Jessie and

Damony Clemons.» Any of those individuals?
A. I like to invoke my Fifth Amendment rightt_
Q. Could you tell us your'~- in 1990 could you

tell us your height, your weight, your hair color?
A. I like to invoke my Fifth Amendment right.

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EXHlBIT F:

Detective James O’Brien pleading the 5th Amendment privilege
against self-incrimination

` : 520
Case' 1'08-cr-00846 Document #: 454-1 Fl|ed: 07/18/18 Page 25 of 44 Page|D # 8

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IN THE CIRCUIT CDURT,OF COOK COUNTY, ILLINUIS
COUNTY DEPARTNENT~CRIMINAL DIVISION

THE PEOPLE OF THE STATE OF )
rtLINoIs. g

Petitioner, g
vs. ` , No. 90 cR 23997 §

CORTEZ BROWN, a/k/a Post Conviction §

VICTOR SAFFORLD.

Respondent. )

REPoRr or PRocEEDINGs had at the hear1ng
of the above-entitled oause before the Honorable
CLAVTUN CRANE, judge of said Court, on the 18th day of

~ .. ,."h..l_.,.:..`_.,....`

May, 2009. at the hour of 11:20 a.m.

PRESENT:
HON. LISA NADIGAN
Attorne Generel of Illinois, by
HR. VIN ENZO CHIHERA and
HR. PAUL BERVID and

HR. ERIC LEVIN .
Appearing on behalf of the Plaintiff;

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MR. LocKE aownAN and
nR. FLINT TAYLoR and
Hs. JoEY MoGuL and

NS. SARAH GELSOHINO
Appearing on behalf of the Defendant.

Paul N. O'Connor
Official Court Reporter
Circuit Court of Cook County

County Department y

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all your answers still be the same. you‘re asserting

your Fifth Amendment right?
THE WITNESS: Yes, sir, I would continue to

assert my Fifth Amendment right to not answer any of
those questions.
THE COURT: Okay. Cross?
HR. CHIMERA: No questions. judge.
HR. TAYLOR: Thank you, judge.
THE COuRT: Thank you.
THE wITNESS: ¥ou're welcome.
HR. BOWHAN: Petitioner's next witness is
James O'Brien, who I believe is in the back.
(thness sworn)
JAHES O‘BRIEN.
called as a nntness herein. having been first duly
sworn, was examined upon oral interrogatories and '
testified as follows:
D CT EXAHI ION
By Mr. Bowman:
Q. Could you please state your name, sir,

A. Detective James O‘Brien. O-B-R-I-E-N.

a. Hr. O‘Brien, are you currently employed as a
detective in the Chicago Police Department?

A. Yes, sir I am.

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Case' 1'08-cr-OO846 Document #: 454-1 Fl|ed: 07/18/18 Page 27 of 44 Page|D #

Hr. O'Brien, in September of 1990, did you
crimes detective at Area Three third

Q.
work as a violent
watoh?

A. Counsel,
I respectfully decline to answer this question and

invoke my constitutional rights and privileges against
self imcrimination as guaranteed by the Fifth Amendment

at this time upon advice of counsel,

to the United States Constitution. And by Artiole Ona,
Section 10 of the Constitution of the State of

Illinois.
Q. I have a few more questions to ask you, sir.

'~1111‘1-1-.-~ - -

And I think we can probably just boil that statement

down to assert the fifth.
Specifically on September 21st end

September 22, 1990, was John Byrne the third watch

supervising sergeant?
A. Again I revert to my previous answer and

. ..-.-_

assert my Fifth Amendment right.
Q. On September 21st, and September 22, 1990,

was John Burge your commanding officer?
A. Again counsel, I revert to my previous answer

and invoke my Fifth Amendment right.
Q. On September 21st and 22nd. 1990, did you

participate in the interrogation of Cortez Brown, then

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known as Cortez Brown, in fact Victor Safforld?

A. Again counsel, I revert to my previous answer

and invoke my Fifth Amendment right.
Q. Did John Byrne directly supervise this

investigation?

A. Again counsel,
and invoke my Fifth Amendment right.

Q. CHd John Byrne participate in this

I revert to my previous answer

investigation?
A. Again. I revert to my previous answer and I

invoke my Fifth Amendment right.
0. Did John Burge directly supervise this

investigation?
A. Again counsel, I revert to my previous answer

and invoke my Fifth Amendment right.
Q. Did John Burge participate directly in this

investigation?
A. Again. I revert to my previous answer and

invoke my Fifth Amendment right.
Q. During the course of the interrogation of

Cortez Brown. Victor Safforld, on September 21st and
22nd, 1990, did you, sir, pin Hr. Brown against the
wall of an interrogation room with the weight of your

body?

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C e 1'08 cr 00846 Document #: 454-1 Fl|ed: 07/18/18 Page 29 of 44 Page
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1 A. Again counsel, I revert to my previous answer

and invoke my Fifth Amendment right.
Q` At that time, did you refuse to honor

Mr. Brown's request that questioning cease until he

could have a lawyer present?
A. Again counsel. I revert to my previous answer

and invoke my Fifth Amendment right.

o. Did you fail at that time to give Victor
Safforld known as Cortez Brown, his Niranda rights?
10 A. Again counsel, l revert to my previous answer

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11 and invoke my Fifth Amendment right.

12 Q. Did you tell Mr. Brown, Hr. Safforld, that

13 everybody else involved in the matters under §

14 investigation was pinning both the Curtis Simms murder §

15 and the Delvin Boelter murder on him? §

16 A. Again counsel, 1 revert to my previous answer §
t

17 and invoke my Fifth Amendment right.

18 Q. Did you tell Mr. Brown that if he did not

19 confess to the Simms murder and Boelter murder, he

20 wouldn't be coming back?
21 A, Again counsel, I revert to my previous answer

22 and invoke my Fifth Amendment right.

23 u. Did you slap Mr. Brown on the side of his

24 head mdth your open hand? 5

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A. Again counsel, I revert to my previous answer

and invoke my Fifth Amendment right.

Q. Did you strike Victor Safforld then known as

Cortez Brown, with a flashlight?
A. Again counsel. I revert to my previous answer

and invoke my Fifth Amendment right.

o. Did you strike Victor Safforld with fists in

the chest and sides of the body?
A. Again counsel, I revert to my previous answer

and invoke my Fifth Amendment right.
a. Did you do all of these things that I just

asked you in order to coerce Victor Safforld into
confessing to the murder of Curtis Simms against his

will?
A. Again counselv I revert to my previous answer

and invoke my Fifth Amendment right.
Q. As of September 21st, and 22nd, 1990, had you

learned, sir, that in the course of conducting
interrogations under the command of John Burge, how to'
physically abuse a suspect in such a way that no mark
of the physical abuse would be left on the suspect's

body?
A. Again counsel, I revert to my previous answer

and invoke my Fifth Amendment right.

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Q. When you struck Mr. Brown, Victor Safforld,
with your hand, your fists and a flashlight, did you
strike him in such a way that no mark of your physical

abuse would be left on his body?
A. Again counsel. I revert to my previous answer

and invoke my Fifth Amendment right.

Q. On November 8th,-1991, did you lie under oath
at the motion to suppress hearing in this very case,
when you denied any of the things that I have asked you
about?

A. Again counsel, I revert to my previous answer
and invoke my Fifth Amendment right.

MR. BOMMAN: If I may briefly approach. I
have a deposition} just to be clear, I have a
deposition of Mr. O'Brien that we are going to move
into evidence. These matters I’m going to place before
him were not covered in that deposition.

THE COURT: All right.

NR. BOWHAN: Q I‘m going to hand up at this
time Mr. O'Brien, what's been marked for identification
as Petitioner's Exhibit No. 53, a complaint register
involving an individual by the name of Steven Riley.

My question, on April 4, 1989, while
under the command of John Burge at Area Three, did you

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Case 1 08 cr 00846 Document #: 454-1 Fl|ed: 07/18/18 Page 32 of 44 Page|D

repeatedly strike Steven Riley with a flashlight during

the course of arresting him?
A. Again counsel, I revert to my previous answer

and invoke my Fifth Amendment right.

o. I'm now placing before you. sir, what's been

previously marked as Petitioner's Exhibit No. 69. An

affidavit of an individual named Richardson.

Ny question, on September 28,1991.
while under the command of John Burge at Area Three,
did you slam on a table Hr. Travis Richardson' s head in
an effort to cause him to confess to a crime under

investigation?
A. Again oounsel, I revert to my previous answer

and invoke my Fifth Amendment right.
o. I' m placing before you now, what has been

previously marked as Petitioner' s Exhibit No. 70. An

Office of Professional Standards interview of one

Hichael Peterson.
My question. on September 28,1991,

while under the command of John Burge at Area Three,
did you choke punch. kick and attempt to burn with a
cigarette Hr. Hichael Peterson. in an effort to cause

him to confess to a crime under investigation?

A. Again counsel, I revert to my previous answer

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Case' 1'08-cr-00846 Document #: 454-1 Fl|ed: 07/18/18 Page 33 of 44 Page|D #

and invoke my Fifth Amendment right.

MR. BOWMAN: with respect to the other
matters involving Hr. O'Brien, we will stand on the
record that's made in the deposition, which has been
marked for identification as Petitioner's Exhibit
No. 5.

THE COURT: Mr. O'Brien, if you were asked

any additional questions with reference to your

employment with the city as a detective. would your

answer still be the same, you invoke your Fifth
Amendment right? `
THE wITNESS: ¥es your Honor. it would.
THE COURT: Any cross.
`HR. CHIMERA: No.

MR. BOWMAN: That's all I have‘
THE wITNESS: Thank you, your Honor.
nR. BOWHAN: At this time we ca11 Peririoner.

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(khtness sworn)

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EXHIBIT G:

Transcript of Proceedings dated May 22, 2009 in People v. Brown
90 CR 23997: Ruling by Judge Crane

Case: 1:08-cr-00846 Document #: 454-1 Filed: 07/18/18 Page 35 of 44 Page|D #:8530

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STATB OF ILLINOIS )
) SS:

COUNTY OF C O O K )

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT-CRIMINAL DIVISION

THE PBOPLE OF THE
STATE OF ILLINGIS,

Plaintiff,

vs.
Charge:

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1 No. 90 ca 23997
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Defendant.

REPORT OF PROCEBDINGS of the
hearing had before the HONORABLB CLAYTON J.

CRANE, on the 22nd day of May 2009, in Chicago,

Illinois.

APPEARANCES:

OFFICE OF THE ATTORNEY GENERAL, by
MR. VICENZO CHIMERA, PAUL BERVID
and ERIC LEVIN,

Assistant Attorney Generals,

on behalf of the People;

MR. LOCKE BOHMAN, MR. FLINT
TAYLOR, MS. JOEY MOGUL and

MS. SARAH GBLSOMINO,

on behalf of the Defendant.

Sandra Battaqlia
Official Court Reporter

Criminal Division

C.S.R. #084-003168 .

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THE COuRT; Okay. The next matter before

the Court is the People of the State of Illinois

versus Cortez Brown also known as Victor

Safforld. You can take a seat over there.
Okay. Hopefully this is the last

time in this issue. Counsels, announce your

names for the record from the Petitioner's table

first.

MR. BOWMAN: My name is Locke Bowman on
behalf of Victor Safforld.

MR. TAYLOR: Flint, F~L-I~N»T, Taylor on

behalf of Mr. Safforld.
MS. MOGUL: Joey Mogul, M-O-G-U-L, on

behalf of Mr. Safforld.
MS. GELSOMINC: Sarah Gelsomino,

G-E-L-S~O-M~I~N-O, on behalf of Victor Safforld.
MR. LBVIN: Eric Levin, L-E-V-I~N, on

behalf of the Attorney General's Office.

MR. BERVID: Paul Bervid, B~E~R-V-I-D, also

on behalf of the Illinois Attorney General’s

Office.
MR. CHIMERA: Good morning, your Honor.

Vincenzo Chimera, C~H~I~M~B-R-A,

from the Attorney General‘s Office.

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THE COURT: Thank you.

I indicated today that I would

have my ruling. My ruling is not in writing. I

ran out of time. But I shall give the ruling.

And I am sure that's what most people are

concerned about.

This Court had the ability to

observe the interest, blas, and credibility of

the various witnesses who testified in this

matter. This Court took into account only

competent, relevant, and material evidence.

Although there are over 100

exhibits recovered in this case, those matters

which were considered by the Court as concerns

those various exhibits which were admitted were

only to the limited purpose for which each

exhibit was admitted. Those issues of hearsay

were not considered. Those issues of opinion

were not considered.
This is a third stage

postconviction hearing. The issue is whether or

not the Petitioner in this matter incurred a
substantial denial of his constitutional right

during the initial prosecution of this case.

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This narrows down to whether the statement that
the Petitioner gave implicating himself was
voluntary or that his will was overborne by the

actions of the police causing him to confess.
This hearing was essentially a new

motion to suppress statements. At this hearing,

the only person that was in the room who

testified was the Petitioner. The present or

past detectives were silent. I am taking that

silence into consideration.
As concerns September 213t, 1990,

there were some circumstantial witnesses. Those

included the Assistant -- two Assistant State's

Attorneys, one of each ~- each one who took a

statement in this matter, and the court
reporter.

They indicated in their testimony
they saw no visual signs of any harm caused to

the defendant, and the defendant did not

complain of any harm, It is also fair to note

that in the pictures taken of the defendant on

that particular day, I can’t see any visual

signs. I am not a doctor.

He was wearing long pants. He had

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a long-sleeve shirt on. He was dealing with

experienced -~ very experienced detectives.

Much was made of the fact that the
defendant -- the Petitioner, excuse me, in this

particular matter -- Petitioner may no

complaints. The fact of the matter is, the

Petitioner is staying in the custody of the
Chicago Police Department after he makes the

statement. He is not going home with the

State's Attorneys.

On the other hand, Mr. Safforld is
not a good witness. I have been exposed to

Mr. Safforld, known as Cortez Brown by me, for

an extended period of time. I found him to be a

mature, streetwise individual. He sure didn't

testify that way.
I don't know what he was like 19

years ago. I can only glean that from his

testimony and from his behavior at the time of
the original incident.

when he was interviewed by
Sergeant Baker, he lied about his age. He used

13. That's the magic number to get you treated

as an individual. He didn’t give the right

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name. He figured maybe nobody would be able to

track him down.

I will indicate that Sergeant

Baker was the best witness in this case. I

believed absolutely everything he said. The

defendant did sign that statement. That is the

defendant's signature. He was given his rights.

The Petitioner's various

explanations of the events that occurred in the

room don't help his case. The issues where did

you get hit, how did you get hit, what did you

get hit with, seem to adjust themselves based

upon where he was testifying.
Given that, I understand the

original ruling in this case. I understand who

the witnesses were, and I understand what the

outcome of that ruling was.
fn this hearing, I had an

advantage over the judge in that hearing. I

also had a disadvantage over the judge in that

hear. The disadvantage I had in this hearing

was I have no testimony from the other

individuals in that room. My advantage is I

have some additional evidence as to the

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behaviors of some, if not all, of the detectives

in this case.
That evidence is staggering. That

evidence is damning. The Petitioner has met his

burden. Petition granted. Motion for new
trial.
Court is in session.
THE SHERIFF: Court is still in session.
THE COURT: Court will be in recess for

five minutes.

If you want to celebrate or

whatever you want to do, go outside. l

apologize for making the Sims' family victims

again.

( WHEREUPON the case was passed

and later recalled. )

THE COURT: Cortez Brown.
Bring out Mr. Brown, okay “- if

they are not up here ~~ or Mr. Safforld.

MR. BERVID: They are not in the hallway.

I know that.

THE COURT: Okay.

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THE SHERIFF: They all went downstairs. Do

you need them back up?

THE COURT: Yes. Tell them I want them

right now.
Okay. This matter is -~ we need a

date.

MS. MOGUL: Good morning again, your Honor.

Joey Mogul and Sarah Gelsomino on
behalf of Mr. Safforld.

Your Honor, we would ask ~~ and I
have discussed this with Mr. Chimera -- if we
can set this down for next Friday.

THE COURT: Does that work for you?

MR. CHIMERA: That's fine. By agreement,
Judge.

THE COURT: By agreement to next Friday,

which is the 29th. Okay. See everybody back

here then.

¢ WHERSUPON the above-entitled
cause was continued to

5-29-09 in Courtroom 600. )

` #:8538
Case' 1'08-cr-00846 Document #: 454-1 Fl|ed: 07/18/18 Page 43 of 44 Page|D

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STATE OF ILLINOIS )
) SS.

COUNTY OF C O O K )

I, SANDRA BATTAGLIA, Official

Shorthand Reporter of the Circuit Court of Cook

County, County Department, Criminal Division, do

hereby certify that I reported in shorthand the

proceedings had at the hearing of the

above-entitled cause, and that the foregoing is

a true and correct transcript of the proceedings

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‘c.s.s. #0843003169
Circuit Cou t of Cook County

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Case: 1:08-cr-00846 Document #: 454-1 Filed: 07/18/18 Page 44 of 44 Page|D #:8539

